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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

   UNITED HEALTHCARE SERVICES,                        §
   INC., UNITEDHEALTHCARE                             §
   INSURANCE COMPANY,                                 §
                                                      §
             Plaintiffs,                              §
                                                      §
     v.                                               §
                                                      §    Civil Action No. 3:17-CV-0243-X-BT
   NEXT HEALTH, LLC, et al.,                          §
                                                      §
             Defendants.                              §


                                      FINAL JUDGMENT

          Plaintiffs United Healthcare Services, Inc. and UnitedHealthcare Insurance

  Company (collectively, “UHC”) sued Defendant Next Health LLC (“Next Health”), a

  collection of its laboratories and pharmacies, and various associated individuals,1

  bringing a variety of claims related to Next Health’s alleged multi-million-dollar

  healthcare fraud. After a six-year battle, UHC moved for partial summary judgment

  and case-ending sanctions, and the Court granted both motions.2




          1 The complaint originally named Next Health; Medicus Laboratories LLC; US Toxicology

  LLC; American Laboratories Group LLC; United Toxicology LLC; Erik Bugen; and Kirk Zajac. Doc. 1
  at 1. The second amended complaint named the same defendants and added Executive Healthcare
  LLC; Apex Pharma LLC; Dallasite, Inc.; Total Pharma LLC; True Labs LLC; Semyon Narosov; Jeremy
  Rossel; Rob Close; Amir Mortazavi; Mike Austin; Nick Austin; Cary Rossel; Jen Sears; Alle Byeseda;
  Josh Ihde; Josh Daniel; Arvin Zeinali; and Yan Narosov. Doc. 584 at 1. Defendants Semyon Narosov,
  Jeremy Rossel, Amir Mortazavi, Mike Austin, Nick Austin, Cary Rossel, Jen Sears, Alle Byeseda, Josh
  Ihde, Josh Daniel, Arvin Zeinali, Yan Narosov Kirk Zajac, Alle Byeseda, and Erik Bugen have since
  been terminated or dismissed from the suit.
          2 Doc. 738.



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         The Court granted case-ending sanctions against Next Health and its collective

  of licensed laboratories and pharmacies (with Next Health, the “Entity Defendants”),

  struck their pleadings, and granted default judgment against them.3 The Court also

  granted summary judgment for UHC on its fraud claim against Next Health and a

  group of labs (without Next Health, the “Lab Defendants”).4 UHC then moved for

  default judgment on its fraud claim against the lone remaining defendant, Rob Close,

  which the Court granted.5

         Because the amount UHC seeks in damages from Close, Next Health, and the

  Lab Defendants for its fraud claim is “a liquidated sum or one capable of

  mathematical calculation,” the Court may take as true UHC’s allegations regarding

  damages and forgo an evidentiary hearing.6 Accordingly, the Court ORDERS the

  following defendants to pay the following amounts to UHC for its fraud claim:

         1. $47,728,411 against Rob Close, Next Health, and United Toxicology,
            LLC jointly and severally;
         2. $21,105,240 against Rob Close, Next Health, and US Toxicology,
            LLC, jointly and severally;
         3. $6,347,257 against Rob Close, Next                    Health,     and     Medicus
            Laboratories, LLC, jointly and severally;
         4. $14,282,441 against Rob Close, Next Health, and American
            Laboratories Group, LLC, jointly and severally; and




         3 The Entity Defendants are Next Health; United Toxicology, LLC; US Toxicology, LLC;
  Medicus Laboratories, LLC; American Laboratories Group, LLC; True Labs, LLC; Apex Pharma, LLC;
  Executive Healthcare, LLC; Total Pharma, LLC; and Dallasite, Inc.
        4 The Lab Defendants are United Toxicology, LLC; US Toxicology, LLC; Medicus Laboratories,

  LLC; American Laboratories Group, LLC; and True Labs, LLC.
         5 Doc. 749.

         6 James v. Frame, 6 F.3d 307, 310 (5th Cir. 1993); FED. R. CIV. PROC. 55(b)(1).



                                                    2
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         5. $788,739 against Rob Close, Next Health, and True Labs LLC, jointly
            and severally.7

         Additionally, UHC has alleged that the remaining Entity Defendants caused

  mathematically certain damages through their fraud, and it has introduced evidence

  showing the specific amounts:

         1. $16,321,766.84 against Executive Healthcare (d/b/a The Apothecary
            Shop);
         2. $8,742,226.90 against Dallasite (d/b/a Pinnacle Pharmacy);
         3. $6,706,525.77 against Total Pharma (d/b/a Lot Pharma); and
         4. $6,265,127.52 against Apex Pharma.8

         Pursuant to its previous order, the Court ENTERS default judgment against

  Rob Close, Next Health, and the Lab Defendants in the amount of $90,252,091, to be

  paid as set forth above, and ENTERS default judgment in the amount of

  $128,287,738.03 against the Entity Defendants, jointly and severally.

         UHC stated that it “will forego any additional attorneys’ fees to which it might

  have otherwise been entitled in this . . . action,” so the Court awards no attorney’s

  fees to UHC.9

         IT IS SO ORDERED this 27th day of June, 2023.




                                             BRANTLEY STARR
                                             UNITED STATES DISTRICT JUDGE


          7 Confidential UHC Exhibit 1 (physical document filed under seal with the Court per Docs.

  724, 737); Doc. 584 at 130.
         8 Confidential UHC Exhibits 485731–34 (physical document filed under seal with the Court

  per Docs. 745, 748); Doc. 584 at 130.
         9 Doc. 742 at 4.



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